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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA

   DENNY LINDLEY,                                         )
                                                          )
                                  Plaintiff,              )
                                                          )       BASE FILE
   v.                                                     )       Case No. 08-CV-0379-CVE-PJC
                                                          )
   LIFE INVESTORS INSURANCE                               )        Consolidated with
   COMPANY OF AMERICA,                                    )        Case No. 09-CV-0429
   now known as TRANSAMERICA LIFE                         )
   INSURANCE COMPANY,                                     )
                                                          )
                                  Defendant.              )


                                        OPINION AND ORDER

          Now before the Court is Defendant Life Investors’ Motion to Stay Class Action Allegations

   and Memorandum of Law in Support (Dkt. # 164). Defendant asks the Court to stay proceedings

   on plaintiff’s class allegations pending a fairness hearing of a possible nationwide class settlement

   in Runyan v. Transamerica Life Insurance Company, Case No. CV-09-2066-03 (Circuit Court of

   Pulaski County, Arkansas). Plaintiff argues that the settlement is unfair to class members and would

   violate Oklahoma law, and he should be permitted to proceed with a separate class action for

   Oklahoma residents regardless of the potential class settlement of Runyan.

          On May 30, 2008, plaintiff filed this case in state court against Life Investors Insurance

   Company of America (Life Investors), alleging that Life Investors breached an insurance contract

   and acted in bad faith. Dkt. # 2-4, at 3. Life Investors removed the case to this Court. Plaintiff filed

   a motion to remand based on lack of subject matter jurisdiction. Dkt. # 16. Plaintiff’s motion to

   remand, as well as his subsequent motion to reconsider, were denied. See Dkt. ## 24, 29. On

   January 30, 2009, plaintiff filed a motion to amend his complaint to include class allegations (Dkt.

   # 38), but the motion was filed after the deadline for amendment to the pleadings in the scheduling
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   order. Life investors opposed plaintiff’s motion to amend on the grounds that it was untimely and

   futile. Instead of waiting for a ruling on his motion to amend, plaintiff filed a separate lawsuit in

   Oklahoma County District Court alleging the same claims against Transamerica Life Insurance

   Company (Transamerica), Life Investors’ successor-in-interest, and sought certification of a

   statewide class on both claims. Transamerica removed the case to the Western District of

   Oklahoma. See Lindley v. Transamerica Life Ins. Co., 09-CV-429-CVE-PJC (Lindley II). The

   Western District transferred Lindley II to the Northern District of Oklahoma. The undersigned

   consolidated both cases, and designated this case as the base file for all future pleadings. Dkt. # 160.

          Before plaintiff’s cases were filed, Life Investors was litigating several cases, including

   putative class actions, involving the same factual and legal issues in state and federal courts across

   the country. One of the first cases was Pipes v. Life Investors Insurance Company of America, 07-

   CV-35-SWW (E.D. Ark.), and plaintiff’s counsel in Pipes subsequently filed five other similar cases

   in Arkansas, Mississippi, Michigan, and Louisiana. The Pipes court denied the plaintiff’s motion

   for class certification, but the parties continued to negotiate a nationwide class settlement. The

   parties reached a class settlement and plaintiff’s counsel in Pipes agreed to file a class action

   complaint in Runyan, a case involving similar claims pending in the Circuit Court of Pulaski

   County, Arkansas. The court preliminarily certified a settlement class and set a fairness hearing for

   July 27, 2009. Transamerica sent notice to all potential class members, and 18 potential class

   members objected to the settlement. Five of those objections were withdrawn before the fairness

   hearing and, out of 250,136 class members notified of the proposed settlement, 13 class members

   object to the settlement. Denny Lindley has opted out of the proposed settlement class and has filed

   an objection to the proposed settlement.


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          The plaintiffs in each case against Life Investors or Transamerica allege that the defendants

   breached a supplemental cancer insurance policy based on a dispute over the meaning of the term

   “actual charges.” Life Investors instituted a new claims policy in 2006 interpreting actual charges

   to mean charges actually “being paid to and accepted as payment by the healthcare provider,” see

   Dkt. # 140, while the plaintiffs argue that actual charges means the amount stated on the patient’s

   bill. Life Investors paid the plaintiffs the lesser amount actually accepted by the provider. In each

   case, the plaintiffs seek to recover the difference between the lesser amount accepted by the provider

   and the billed amount, as well as compensatory and punitive damages for alleged bad faith. The

   settlement agreement in Runyan provides each class member a cash payment of 40% of the

   difference between the billed and lesser amounts up to $15,000. Dkt. # 164, Ex. 2(A), at 17. The

   settlement agreement states that all future payments for “actual charges” will be based on the

   amounts actually accepted by the provider as full payment. Transamerica has agreed to a one year

   freeze of premiums and will triple the maximum allowable benefit permitted under subject policies

   for “chemotherapy, radiation therapy, or blood benefits.” Id. at 19, 20. Plaintiff’s counsel in

   Runyan will receive a payment of $3.5 million. Life Investors claims that “[v]irtually all efforts to

   oppose the Settlement have been orchestrated by a handful of plaintiff’s counsel in certain

   competing or overlapping class actions,” and the settlement was reached through extensive arms-

   length negotiations. Dkt. # 164, at 8.

          Before the fairness hearing, plaintiff’s counsel in another pending case against Life Investors

   attempted to enjoin the Runyan court from proceeding. In Gooch v. Life Investors Insurance

   Company of America, Case No. 07-CV-16 (M.D. Tenn.), the plaintiff’s attorney filed a motion to

   enjoin the parties in Runyan from proceeding with the fairness hearing, and the motion was granted.


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   Lindley’s attorney, Anthony Gould, requested and received permission to appear in Gooch and argue

   in support of an injunction. As a result of the injunction, Life Investors’ counsel did not appear at

   the fairness hearing on July 27, 2009 and the settlement was not approved. However, Life Investors

   filed a petition for a writ of mandamus and a motion for an emergency stay of the injunction in the

   Sixth Circuit Court of Appeals. Dkt. # 164, Ex. 5. The Sixth Circuit granted the motion to stay the

   injunction and set an expedited briefing schedule on Life Investor’s request for a writ of mandamus

   dissolving the injunction. Id., Ex. 6.

          The Runyan court has reset the fairness hearing for November 9, 2009 in light of the Sixth

   Circuit’s order staying the injunction. Dkt. # 196, Ex. A. Plaintiff has obtained permission to file

   a brief and appear through counsel at the fairness hearing, even though he has opted out of the class.

   Other federal courts with similar cases have stayed discovery and briefing on class allegations until

   the fairness hearing in Runyan is concluded and that court determines whether the class settlement

   will be approved. See Dkt. # 164, Ex. 1 (collecting orders from six federal cases staying class

   allegations pending the fairness hearing in Runyan). However, plaintiff argues that four federal

   courts have declined to stay class allegations, and are proceeding with class discovery and briefing

   on class certification in similar cases. See Smith v. Life Investors Ins. Co. of America, 2009 WL

   2045197 (W.D. Pa. July 9, 2009); Dkt. # 188, Exs. 3, 4, 5. However, plaintiff fails to note that two

   of the cited orders have been stayed by appellate courts, and are not currently enforceable. Dkt. #

   164, Ex. 6; Dkt. # 196, Ex. C.

          This Court has the inherent authority to control its docket, which includes the power to stay

   cases in the interests of judicial economy. United Steelworkers of America v. Oregon Steel Mills,

   Inc., 322 F.3d 1222, 1227 (10th Cir. 2003). “The power to stay proceedings is incidental to the


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   power inherent in every court to control the disposition of the causes on its docket with economy

   of time and effort for itself, for counsel, and for litigants.” Landis v. North American Co., 299 U.S.

   248, 254 (1936); see also Kittel Union Mortgage Corp., 303 F.3d 1193 (10th Cir. 2002) (exercising

   inherent power to stay appeal when state court ruling on a pending motion would render the Tenth

   Circuit’s decision advisory in nature).

          It is clear that approval or rejection of the Runyan settlement will have a significant impact

   on this Court’s decision to certify a class. If the settlement is approved, it is likely that many

   putative members of plaintiff’s proposed class will be members of the settlement class, and the

   doctrine of res judicata will bar relitigation of their claims in this Court. If the settlement is not

   approved, plaintiff may have a stronger argument for class certification, at least as to numerosity

   under Rule 23(a)(1), and he may have a legitimate basis to request class discovery. Plaintiff argues

   that the proposed settlement is “grossly unfair and plainly unlawful,” that it provides “inadequate

   and illusory relief to class members,” and that defendant approached “ineffectual” attorneys with

   an offer of a $3.5 million attorney fee to settle for pennies on the dollar. Dkt. # 188, at 10, 13.

   These are matters for the Arkansas courts to decide, and the Court will not consider the fairness of

   the proposed settlement. Plaintiff has objected to the proposed settlement and has obtained leave

   to appear at the fairness hearing in Runyan, and that is the appropriate forum for plaintiff’s

   arguments concerning the fairness of the proposed settlement. Plaintiff also argues that the

   settlement agreement is unenforceable as to Oklahoma residents, because the settlement would

   violate Oklahoma law. Dkt. # 188, at 21. The Court declines to consider this argument, because it

   is not relevant to defendant’s motion to stay plaintiff’s class allegations.




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           It would be premature to allow plaintiff to proceed with his class claims until the Runyan

   court conducts a fairness hearing and makes a final decision on approval of the proposed settlement.

   Plaintiff’s arguments in opposition to a stay are exaggerated, and he has not raised a credible

   argument that staying his class allegations will harm his substantive rights. Staying the class

   allegations will not “place this entire case in judicial purgatory until final resolution of [Runyan].”

   Dkt. # 188, at 24-25. Plaintiff will be permitted to proceed with his individual claims and plaintiff’s

   concerns of multiple trials and unspecified due process violations are unfounded. Id. at 22-25.

   Contrary to plaintiff’s assertions, a limited stay of his class claims is not the equivalent of declining

   jurisdiction or abstaining, and Colorado River Water Conservation Dist. v. United States, 424 U.S.

   800 (1976), is not applicable. A brief stay of the class allegations to allow the Runyan court to hold

   a fairness hearing will conserve defendant’s resources by preventing duplicative and expensive class

   discovery. A stay will also conserve the Court’s resources by deferring consideration of plaintiff’s

   request for class certification until the parties are in a better position to brief the issue of class

   certification.

           Plaintiff has a legitimate concern about the length of a stay of his class allegations, but

   defendant has satisfactorily addressed plaintiff’s concerns that Runyan is not proceeding

   expeditiously. The fairness hearing has been reset for November 9, 2009, and this is a month away.

   This short stay of class discovery and briefing will not prejudice plaintiff. While his class

   allegations are stayed, plaintiff may continue to conduct discovery on his individual claims, and

   there is no reason to believe that the stay of plaintiff’s class allegations will be lengthy.

           The Court has also reviewed the amended joint status report (Dkt. # 170), and will enter a

   amended scheduling order based on a April 2010 trial date. This will provide the parties adequate


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   time to complete discovery on plaintiff’s individual claims and draft dispositive motions before trial.

   The Court will not set a new deadline for joining parties or amending pleadings, as requested by

   plaintiff, because the case has been pending since May 30, 2008 and plaintiff has been given ample

   time to conduct discovery and request leave to file an amended complaint. Depending on approval

   or rejection of the proposed settlement in Runyan, the Court will consider amending the scheduling

   order to permit class discovery and briefing.

          IT IS THEREFORE ORDERED that Defendant Life Investors’ Motion to Stay Class

   Action Allegations and Memorandum of Law in Support (Dkt. # 164) is granted. Defendant shall

   notify the Court within five (5) days of approval or rejection of the proposed settlement in

   Runyan.

          IT IS FURTHER ORDERED that an amended scheduling order shall be entered forthwith.

          DATED this 9th day of October, 2009.




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